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additional burdens beyond those imposed by the Federal Rules of Civil Procedure and other

applicable law. The Parties reserve all objections under the Federal Rules of Civil Procedure

and other applicable law for matters relating to the production of data that are not specifically

addressed in this Protocol.

       3.       Custodians and Data Repositories.          The Parties may identify hard copy

documents or Electronically Stored Information (“ESI”) by identifying custodians and data

repositories reasonably likely to possess potentially relevant, responsive documents and making

reasonable efforts to locate potentially relevant, responsive documents within those sources.

       4.       Applicability of Protective Order. The Parties understand that this Protocol

contemplates the production of large volumes of documents, and they acknowledge that nothing in

this Order waives, restricts, or eliminates the Parties’ “claw-back” rights pursuant to any

Protective Order(s) in this case, or governing law, rules, orders, or agreements regarding

inadvertently produced documents.        Pursuant to Federal Rule of Evidence 502(d), any

inadvertent production of a privileged or work product-protected document or ESI is not a

waiver in the pending case or in any other Federal or State proceeding. The proper procedure

for the notification and return of privileged information inadvertently produced in this matter is

governed by the Stipulated Protective Order entered in this litigation.

       5.       Obligation to Meet and Confer.          The Parties shall meet and confer and

endeavor to resolve any disputes arising hereunder, before submitting such disputes to the Court

for determination.

1) Scope of Discovery

   a) Discovery Efforts

       i) Accessible ESI. Each Party represents that it has taken reasonable steps, including but

not limited to timely implementation of a litigation hold, to preserve reasonably accessible
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sources of ESI in which it is reasonably likely that information relevant or reasonably likely to

lead to the discovery of information relevant to the above matter may be found. Except as set

forth in subparagraph 1(a)(ii), reasonably accessible sources of ESI include all active e-mail

accounts, archived e-mail accounts stored on an active hard-drive or server, shared network

drives, workstation or laptop hard drives, external storage devices or media, and web or cloud

based services. Each Party will conduct a diligent search of those reasonably accessible sources

in which it has reason to believe relevant ESI responsive to the opposing Party’s discovery

requests will be found.

       ii) Not Reasonably Accessible ESI. The Parties agree the circumstances of this case do

not warrant the collection, review or production of ESI that is not reasonably accessible that in

the first instance if, and only to the extent that, the Party in possession of that ESI (1) has

complied with the representations and obligations set forth in subparagraph 1(a)(i), and (2)

believes in good faith that ESI is unlikely to contain relevant information not otherwise

available in reasonably accessible sources. However, should a specific need for any ESI that is

not reasonably accessible be identified, the Parties agree to meet and confer regarding

production of such ESI. Absent an agreement among the Parties as to production, the matter

may be presented to the Court for resolution.

       For purposes of this paragraph, the Parties agree that the following sources of ESI are

considered not reasonably accessible:

               (1) Backup tapes, drives, and systems created for the sole purpose of disaster
               recovery;

               (2) Voicemail;

               (3) Instant Messaging, except for instant messaging that has been logged and
               stored on active servers in the ordinary course of business;

               (4) Legacy Data (data maintained in obsolete or inaccessible format);
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               (5) Residual, deleted, fragmented, damaged, or temporary data (e.g., data stored
               in a computer’s RAM);

               (6) Encrypted data/password protected files, where the key or password cannot
               be ascertained absent extraordinary efforts; and

               (7) Data stored on personal devices, smartphones, tablets, or other like handheld
               digital devices, unless the data is not reasonably accessible from another source.

               (8) Text Message Data stored on personal devices, smartphones, tablets, or other
               like handheld digital devices.

Notwithstanding the foregoing, the Parties agree that ESI in categories 1, 4, 6, 7 and 8 shall be

preserved. ESI in category 6 shall be identified to the opposing Party within fourteen (14) days

of the producing Party concluding that the data is not reasonably accessible and no later than the

deadline for substantial completion of document production.         ESI in category 4 shall be

identified to the opposing Party at a mutually agreed upon time reasonably in advance of the

deadline for substantial completion of document production.

   b) Identification of ESI for Production.

       (1) Search Terms. Each Party may use search terms to filter some sources of ESI for

relevancy prior to review and production.       The Parties agree to cooperate and act with

reasonable transparency concerning their use of such filtering techniques. The Parties agree that

their practices and procedures with regard to use of search terms or other technology-assisted

review are not considered Attorney Work Product or Privileged information and may be

requested by the opposing Party upon a showing of need.

       To the extent search terms are used, the Parties agree to confer as to a limit on the

number of search terms per producing Party, in the first instance. The Parties may jointly agree

to modify this limit without the Court’s leave. The Court shall consider contested requests for




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additional search terms, upon showing a distinct need based on the size, complexity, and issues

of this specific case.

        To the extent search terms are used, they shall be narrowly tailored to particular issues.

Indiscriminate terms, such as the producing company’s name or its product name, are

inappropriate unless combined with narrowing search criteria that sufficiently reduce the risk of

overproduction. A conjunctive combination of multiple words or phrases (e.g., “computer” and

“system”) narrows the search and shall count as a single search term. A disjunctive combination

of multiple words or phrases (e.g., “computer” or “system”) broadens the search, and thus each

word or phrase shall count as a separate search term unless they are variants of the same word.

The Parties agree to confer on a process to test the efficacy of the search terms. The Parties will

further meet and confer regarding the sources of ESI appropriate for filter by search terms and

the search terms to be used by each with regard to such sources. It is understood by the Parties

that ESI that does not have associated searchable text will not be considered an appropriate

source for filter by search terms.

        (2) Custodians. The Parties agree to identify in good faith the custodians most likely to

have such relevant, responsive, non-duplicative information in their email accounts and

individually maintained electronic files. The Parties agree to confer as to a limit on the number

of custodians per producing Party from whom emails and individually maintained electronic

files will be collected and reviewed for production in response to specific discovery requests

propounded by the opposing Party. The Parties may jointly agree to modify this limit without

the Court’s leave. The Court shall consider contested requests for additional custodians, upon

showing a distinct need based on the size, complexity, and issues of this specific case.

        For the avoidance of doubt, shared network drives or other shared data repositories

determined to have responsive data will be collected and reviewed without regard to custodian.
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        (3) Technology Assisted Review. The Parties agree to meet and confer regarding the

use of any additional filtering method that employs technology assisted review to determine the

relevancy of ESI. To the extent the Parties reach such agreement, proven technology must be

employed and adequate quality controls maintained.         Either Party may request additional

information regarding the details of any workflow being employed upon a showing of special

need.

    c) Duplicates. The Parties agree to remove duplicate emails, defined as emails having

identical 128-bit MD5Hash values at the family level. Only a single copy of an exact duplicate

ESI family needs to be produced. Deduplication can occur within a custodian and across

custodians provided that each custodian in whose files a copy of such duplicate exists is

identified.

    d) Timeframe.

        (1) Rolling Production. The Parties will produce documents, including ESI, on a

rolling production basis. Such production should begin within a reasonable time after the

response deadline. The Parties will communicate with each other about their respective

priorities for production and agree to use good faith efforts to respond to reasonable requests for

prioritized production, taking into account the volume of responsive information, its relative

accessibility, efficiencies in the process of search and review, and additional processing time

required for certain types of ESI.

2) Form of Production.

        Except as provided herein, ESI and paper documents will be produced in single page,

TIFF image format. This format allows for proper viewing, numbering, endorsement and any

necessary redaction and will work with most popular litigation software packages. The Parties

also agree to provide the appropriate standardized database load files (.DAT files) and image
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load files (.OPT files) for their respective systems. Each Party will accommodate reasonable

requests for production of images in color.

       Additionally, to the extent practicable, each non-redacted ESI document produced shall

be accompanied by a corresponding document-level text (.TXT) file with full text that is

extracted from the electronic file, not generated as an Optical Character Recognition (“OCR”)

file from the TIFF image(s). In the case of email, the corresponding text file shall include

header information including: (1) the individual to whom the communication was directed

(“To”), (2) the author of the email communication (“From”), (3) who was copied and blind

copied on such email (“CC” and “BCC”), (4) the subject line of the email (“Subject”), (5) the

date/time of the email (typically the “Sent Date/Time”). For redacted documents derived from

ESI or paper documents, the producing party is responsible for generating and producing OCR

text in the document-level text (.TXT) file.

       Because much metadata is unusable and of little value and the time required to review

the metadata makes its production burdensome and costly, the Parties will only agree to produce

a limited amount of metadata absent a showing of special need. Nothing in this paragraph,

however, obviates any Party’s obligation to preserve metadata consistent with subparagraphs

1(a)(i) and (ii). With regard to emails, the following metadata fields should be produced:

Custodian, From, To, CC, BCC, Date and Time Sent, Date and Time Received, Subject,

Attachment ID Begin, Attachment ID End, MD5Hash. With regard to attachments or loose

electronic documents, the following metadata fields should be produced: Custodian, File Name,

Date Created, Date Last Modified, MD5Hash, Title, Author, Attachment ID Begin, Attachment

ID End, and FilePath. With regard to paper documents, the Custodian must be provided.

3) Organization of Production.


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       (1) Images. Each image will be assigned a production ID number that will be used as

the TIFF name and visibly endorsed on the image page. These production ID numbers shall be

unique across the entire document production and sequential within a given document. A

separate image cross-reference file in .TXT, .CSV, or .OPT format indicating the Document ID,

Path, and File Name will be provided as part of each production.

       When applicable, parent emails and any of their attachments should be produced as

separate, contiguous documents and the parent-child relationships (the association between an

attachment and its parent document) shall be preserved to the extent possible. Images of paper

documents must include, where available, copies of file folders, envelopes, or labels or other

identifying marks on the containers in which the documents were maintained.

       The Parties agree that ESI produced as described herein is reasonably usable and is an

acceptable alternative to organizing the images according to the categories in the document

requests.

       (2) Metadata. A separate metadata cross-reference file in .TXT, .CSV, or .DAT format

will be provided as part of each production. A metadata field delimiter, that is unlikely to exist

within the metadata fields themselves, will be used to separate fields.         For those fields

containing multiple entries (e.g., Recipients), a unique delimiter will be used to separate the

multiple entries within a field.

       In addition to the agreed upon metadata fields, the Parties will also produce source

information and any applicable confidentiality designation for each document within the

metadata cross-reference file.

4) Exceptions.

       a) Dynamic Files.


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        Certain files (such as spreadsheets, slide shows, etc.) can be so dynamic in nature that

they may not be conducive to production in static image form. For this reason, spreadsheets

will be produced as native files unless redactions are required. Spreadsheets that require

redactions will be converted to TIFF images. Slide shows will be produced as native files unless

redactions are required. Slide shows that require redactions will be converted to color TIFF

images, any hidden slides will be revealed; and if any slides in the presentation contain speaker

notes, then all slides will be printed in Slide view (one slide per page). To the extent that print-

outs or images of all or part of a spreadsheet or presentation were also maintained in the

ordinary course of business in static form (e.g., as a pdf attachment), those documents will be

produced as static images.

        With regard to other file types, the Parties agree that where there is a legitimate need to

present content of the file that cannot be derived from a static image and/or optional full text, the

producing Party shall produce these types of dynamic files in native form for review in the

native application. In addition, the Parties agree to produce a reasonable number of particular,

identified dynamic files in native format upon reasonable request from the receiving Party.

        For native files included in a production, the file name will consist of a production ID

number and the Confidentiality designation, if applicable, will be provided in the database load

file.   A corresponding placeholder TIFF image will also be provided and will reflect the

document’s production ID number and Confidentiality designation (if applicable).

        b) Structured Data.

        Some types of ESI, such as databases, exist natively as structured data repositories as

opposed to unstructured individual file populations. A Party may at its option produce the

relevant information from a database in an alternate form, such as a report or data table. These

reports or data tables may, at the producing Party’s option, be produced in either a static image
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format or in a popular database application, such as an MS Access™ database. The Parties

agree to produce a reasonable number of such reports or data tables in a popular database

application, such as an MS Access™ database, upon reasonable request from the receiving

Party, which shall identify the particular reports or data tables of interest. To the extent that

relevant and responsive reports or data tables were also maintained in the ordinary course of

business in static form, those documents will be produced as static images.

          c) Conversion not Practicable.

          Due to the nature or complexity of storage of some ESI (e.g., ESI in custom or

proprietary applications, website content, etc.), conversion to static image form may be overly

burdensome. The Parties reserve the right to produce this ESI in some other reasonably usable

format that would not alter the content.

          d) Image Not Readable.

          Where TIFF images of certain documents are not readable for whatever reason due to

processing constraints, the Parties may request their production in native or other appropriate

format.

          e) Non-Convertible Files.

          For documents and ESI that do not convert well to TIFF (e.g. oversized drawings,

picture files, audio and video files), the producing Party will either produce the document in

native format or will ask the receiving Party to meet and confer regarding a reasonable

alternative form of production. The file name for the documents produced in native form will

consist of a production ID number. The Confidentiality designation, if applicable, will be

indicated in the database load file. For native files included in a production, the corresponding

placeholder TIFF image will also be provided and will reflect the document’s production ID

number and Confidentiality designation (if applicable). In the event that either Party produces
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either an ESI or hard copy document that the TIFF image is of poor quality, obscured in some way

or otherwise illegible, the Parties agree that the producing Party will make best efforts to help

the receiving Party receive a more useful production of the document including but not limited

to producing the native file.

       Other files may not be amenable to TIFF conversion due to password protection,

encryption or corruption (for example). If reasonable efforts to obtain useful TIFF images of

these files are unsuccessful, these will also be accounted for with a placeholder image.

       (f) Source Code.

       Source code will be produced in accordance with the protocols set forth in the Stipulated

Protective Order entered in this litigation.

5) Privilege

       Each Party will review documents for privileged information (or other information

subject to a recognized immunity from discovery) prior to production, and a Party may satisfy

its review obligations through a reasonable electronic search for potentially privileged

documents. Documents that contain both privileged and non-privileged information will be

produced with the privileged information redacted in such a way as to show the location of the

redaction within the document and the reason therefore (e.g., “Redacted – Privileged” or

equivalent). Documents or portions thereof withheld on privilege grounds will be identified in a

privilege log in accordance with Fed. R. Civ. P. 26(b)(5), provided, however, that neither Party

shall be required to log privileged documents that were created or received on or after the date

of filing of the Complaint in the litigation. Additionally, portions of documents withheld on

privilege grounds need not be identified in a privilege log as long as sufficient information

remains on the face of the document to provide the opposing Party with the type of information

that would otherwise be included on a privilege log entry.
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        Privilege logs will be produced within 45 days following the production of the

documents from which the privileged documents are withheld.            The log shall contain the

following information, to the extent known and to the extent providing this information will not

destroy the privilege: (1) the name(s) of the person(s) who created and received the document or

a copy of it; (2) the date of the document; (3) a description of the nature of the document

sufficient to enable the receiving Party to assess the applicability of the privilege or protection;

(4) privilege(s) claimed; and (5) the names and titles or designation as in-house or outside

counsel of legal personnel on whom the claimed privilege is based.

6) Right to Request Additional Information

        The agreements set forth herein are without prejudice to the right of a requesting Party to

request additional information about ESI and discovery in accordance with the Federal Rules of

Civil Procedure.

7) Obligation to Produce Documents Responsive to Discovery Requests

        Nothing herein relating to the search for and production of electronic documents using

identified custodians and search terms shall relieve the Parties of their obligation to reasonably

search for and produce all discoverable documents responsive to discovery requests served in

this litigation.




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IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.

Dated: October 23, 2019

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